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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1216V
                                          UNPUBLISHED


    SUSAN COLLINS,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: September 15, 2021
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Tetanus;
    HUMAN SERVICES,                                             Shoulder Injury Related to Vaccine
                                                                Administration (SIRVA)
                         Respondent.


David John Carney, Green & Schafle LLC, Philadelphia, PA, for Petitioner.

Mallori B. Openchowski, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On August 15, 2019, Susan Collins filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) after receiving the tetanus vaccination on May 2, 2018. Petition
at 1; Stipulation, filed at September 14, 2021, ¶¶ 1-2. Petitioner further alleges that the
vaccine was administered within the United States, she suffered the residual effects of
this injury for more than six months, and there has been no prior award or settlement of
a civil action for damages on her behalf as a result of her condition. Petition at 1, 6-7;
Stipulation at ¶¶ 3-5. Respondent denies that [P]etitioner suffered the onset of her alleged
SIRVA within the Table timeframe; denies that the tetanus vaccine caused [P]etitioner’s
alleged shoulder injury or any other injury and further denies that her current disabilities
are a sequela of a vaccine-related injury.” Stipulation at ¶ 6.


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on September 14, 2021, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $45,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
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                IN THE UNJTED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


SUSAN COLLINS,

                 Petitioner,                              No. 19-1216V
                                                          Chief Special Master Corcoran
 V.                                                       SPU

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                 Respondent.


                                          STIPULATION

        The parties hereby stipulate to the following matters:

        I. Petitioner, Susan Collins, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-l Oto 34 (the "Vaccine Program"). The

petition seeks compensation for injuries allegedly related to petitioner's receipt of the tetanus

vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"), 42 C .F.R. § 100.3

(a).

       2. Petitioner received a tetanus vaccine on or about May 2, 2018.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered a Shoulder Injury Related to Vaccine Administration

("SIRVA") as a consequence of the tetanus immunization she received on or about May 2, 2018,

and further alleges that she suffered the residual effects of this injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.




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        6. Respondent denies that petitioner suffered the onset of her alleged SIRVA within the

Table timeframe; denies that the tetanus vaccine caused petitioner's alleged shoulder injury or any

other injury and further denies that her current disabilities are a sequela of a vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the tenns of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U .S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue the

following vaccine compensation payment:

                A lump sum of $45,000.00, in the fonn of a check payable to petitioner,
                representing compensation for all damages that would be available under42 U.S.C.
                § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42 U.S.C.

§ 300aa-2l(a)(l), and an application, the parties will submit to further proceedings before the

special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        I 0. Petitioner and her attorney represent that they have identified to respondent all known

sources of payment for items or services for which the Program is not primarily liable under 42

U.S.C. § 300aa-l 5(g), including State compensation programs, insurance policies, Federal or State

health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C. § 1396 et

seq .)), or entities that provide health services on a prepaid basis.




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        11. Payment made pursuant to paragraph 8 of this Stipulation and any amounts awarded

pursuant to paragraph 9 will be made in accordance with 42 U.S.C. § 300aa-l 5(i), subject to the

availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorney' s fees and litigation costs, the money provided pursuant to this Stipulation will be used

solely for the benefit of petitioner as contemplated by a strict construction of 42 U.S.C. § 300aa-

15(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-l S(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her individual

capacity, and on behalf of her heirs, executors, administrators, successors, and assigns, does

forever irrevocably and unconditionally release, acquit and discharge the United States and the

Secretary of Health and Human Services from any and all actions or causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in the

United States Court of Federal Claims, under the National Vaccine Injury Compensation Program,

42 U.S.C. § 300aa-l 0 et seq., on account ot~ or in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, or

alleged to have resulted from, the tetanus vaccination administered on or about May 2, 2018, as

alleged by petitioner in a petition for vaccine compensation filed on or about August 15, 2019 in

the United States Court of Federal Claims as petition No. 19-1216V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the terms of

this Stipulation or if the United States Court of Federal Claims fails to enter judgment in



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confonnity with a decision that is in complete confonnity with the terms of this Stipulation, then

the parties' settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or do any act or thing other than is herein expressly stated and

clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the tetanus vaccine caused petitioner's alleged

shoulder injury or any other injury or any of her current disabilities.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




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Respectfully submitted,


PETITIONER:



SUSAN COLLINS


                                                             AUTHORIZED REPRESENTATIVE
                                                             OF THE ATTORNEY GENERAL:

                                                             ~~e~
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                                                             Benjamin Franklin Station
                                                             Washington, D.C. 20044-0146



AUTHORIZED REPRESENTATIVE OF                                ATTORNEY OF RECORD FOR
THE SECRETARY OF HEALTH AND                                 RESPONDENT:
HUMAN SERVICES:


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Dated: c,q /N{'ldl- II


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